'We'll make mistakes' says RFK as fired US health staff asked to return                       https://www.bbc.com/news/articles/ckgrz75ezxjo
                     Case 2:25-cv-00227              Document 7-2         Filed 04/21/25   Page 1 of 4 PageID #: 75




1 of 4                                                                                                                 4/13/2025, 12:26 PM
'We'll make mistakes' says RFK as fired US health staff asked to return                       https://www.bbc.com/news/articles/ckgrz75ezxjo
                     Case 2:25-cv-00227              Document 7-2         Filed 04/21/25   Page 2 of 4 PageID #: 76




2 of 4                                                                                                                 4/13/2025, 12:26 PM
'We'll make mistakes' says RFK as fired US health staff asked to return                       https://www.bbc.com/news/articles/ckgrz75ezxjo
                     Case 2:25-cv-00227              Document 7-2         Filed 04/21/25   Page 3 of 4 PageID #: 77




3 of 4                                                                                                                 4/13/2025, 12:26 PM
'We'll make mistakes' says RFK as fired US health staff asked to return                       https://www.bbc.com/news/articles/ckgrz75ezxjo
                     Case 2:25-cv-00227              Document 7-2         Filed 04/21/25   Page 4 of 4 PageID #: 78




4 of 4                                                                                                                 4/13/2025, 12:26 PM
